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                                  3                                    UNITED STATES DISTRICT COURT

                                  4                                NORTHERN DISTRICT OF CALIFORNIA

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                                  6
                                           WHATSAPP INC., et al.,
                                  7                                                        Case No. 19-cv-07123-PJH
                                                         Plaintiffs,
                                  8
                                                  v.                                       ORDER DENYING MOTION FOR
                                  9                                                        LEAVE TO FILE MOTION FOR
                                           NSO GROUP TECHNOLOGIES                          RECONSIDERATION
                                  10       LIMITED, et al.,
                                                                                           Re: Dkt. 687
                                  11                     Defendants.

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                                  14            Before the court is defendants’ motion for leave to file a motion for reconsideration.
                                  15   See Dkt. 687. The court issued an order directing plaintiffs to respond to defendants’
                                  16   motion, and plaintiffs have filed a response. See Dkt. 698, 707.
                                  17            As the court noted in its prior order, the arguments raised by defendants were not
                                  18   raised in their opposition to plaintiffs’ motion in limine, nor were they raised during the
                                  19   course of pretrial conference. See Dkt. 698 at 1. However, even though the arguments
                                  20   were untimely, out of an abundance of caution, the court opted to fully hear and consider
                                  21   the competing arguments before issuing a ruling. Having now fully considered the
                                  22   arguments, the court concludes that defendants’ motion for leave to file a motion for
                                  23   reconsideration must be DENIED.1
                                  24            As an initial matter, the court is fully mindful of the need for equity in its evidentiary
                                  25   rulings, and to the extent defendants’ motion articulates that general principle, the court
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                                         By considering the parties’ competing briefs, the court has addressed the arguments
                                  28   that would have been raised if the court had granted defendants’ motion for leave and
                                       allowed them to file a motion for reconsideration.
                                        Case 4:19-cv-07123-PJH        Document 708        Filed 04/23/25    Page 2 of 2




                                  1    doubtlessly agrees. However, the specific relief requested by defendants’ motion goes

                                  2    too far, and fails to recognize that the court has already balanced the need for equity in

                                  3    issuing its rulings on the motions in limine. In particular, the court notes that it granted

                                  4    defendants’ third, sixth, and ninth motions in limine (seeking exclusion of the targets’

                                  5    identities and occupations, allegations regarding Jamal Khashoggi, and the Entity List,

                                  6    respectively), even though such evidence would need to be admitted if defendants’

                                  7    requested evidence were admitted.

                                  8           Moreover, the relief requested by defendants’ motion seeks more than just

                                  9    equivalence. As plaintiffs point out, “[t]here is no equivalence between generalized

                                  10   evidence about why Defendants’ and their customers’ may have hacked WhatsApp, and

                                  11   specific and actual evidence showing what Defendants’ WhatsApp-based exploit did,”

                                  12   and defendants’ motion seeks to present testimony and argument about matters for
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                                  13   which there is no evidence of record, or evidence that is simply not tethered to the

                                  14   conduct at issue in this case. See Dkt. 707 at 2. Accordingly, defendants’ motion for

                                  15   leave to file a motion for reconsideration is DENIED.

                                  16          Because there remain some outstanding issues that were not fully discussed at

                                  17   the pretrial conference, the court sets a videoconference hearing for Thursday, April 24,

                                  18   2025, at 10:30am. Further details will be provided via clerk’s notice on the court’s

                                  19   docket. The parties should be prepared to discuss jury instructions, deposition and

                                  20   discovery excerpts, and trial exhibits and any sealing issues.

                                  21

                                  22          IT IS SO ORDERED.

                                  23   Dated: April 23, 2025

                                  24                                                     /s/ Phyllis J. Hamilton
                                                                                     PHYLLIS J. HAMILTON
                                  25                                                 United States District Judge
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